Case 1:04-cv-10981-PBS Document 2721 Filed 03/19/10 Page 1of5

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Inre: NEURONTIN MARKETING, SALES MDL Docket No. 1629
PRACTICES, AND PRODUCTS
LIABILITY LITIGATION Master File No. 04-10981
THIS DOCUMENT RELATES TO: Judge Patti B. Saris

Mag. Judge Leo T. Sorokin
THE GUARDIAN LIFE INSURANCE COMPANY

OF AMERICA v. PFIZER INC., 04 CV 10739 (PBS)
and

AETNA, INC. V. PFIZER INC., 04 CV 10958 (PBS)

MEMORANDUM IN SUPPORT OF KAISER’S MOTION
FOR CURATIVE INSTRUCTION

I. INTRODUCTION

On February 22, 2010, the parties presented their opening statements to the jury. During
their opening, Defendants made a number of statements designed to create the impression that
Neurontin is acknowledged by all parties to be a benign medication. As the Court is aware, the
side effect profile of Neurontin is a highly contested issue in a multitude of product liability
cases being defended in this Court by the same lawyers who made the following statements:

“¢ “... Neurontin had a number of characteristics that made it almost an ideal candidate for
trial and error with one of these difficult conditions. Neurontin does have side effects.

It’s not side-effect-free, but there will be agreement that its side effects are far milder
Case 1:04-cv-10981-PBS Document 2721 Filed 03/19/10 Page 2 of 5

and can be tolerated by people more than almost any other AED, so it’s an easy-to-take

drug.” (2/22 Tr. 127:8-14).

«* “When you hear a case involving a drug company, some of us think ‘Well, I wonder if
somebody was killed or injured.’ This is not that kind of a case. There will be absolutely
no claim in this case that anybody has been injured or killed by Neurontin or gabapentin.”
(2/22 Tr. 120:21-25).

«* “At least the first sentence of the Hippocratic oath ‘Do no harm,’ with Neurontin, the
doctor knows that at least will be discharged, and can trial and error with the
combinations to see if maybe this will do something more for a particular migraine
sufferer, a chronic pain sufferer, or whatever.” (2/22 Tr. 128:23 — 129:3).

“* “Parke-Davis people couldn’t leave well enough alone and embarked on a not only
improper but totally illegal campaign to try to hasten the speed with which doctors came
to learn about Neurontin . . .. However, the evidence is going to show there is no claim
that any patient was injured as a result of any of that happening...” (2/22 Tr. 129:11-
17) (emphasis added).

These statements were not only misleading, they were intentionally prejudicial to Kaiser,
as they served to support the statement that “[t]his is a dispute between Kaiser and Pfizer over
money.” (2/22 Tr. 121:3-4). While money may be the form of the damages sought, Kaiser
brought this suit in reaction to a gross breach of trust on the part of the defendants, upon whose
honesty Kaiser must continue to rely as it evaluates which medications may be appropriately
prescribed for its insureds.

The Court recognized at the time that these statements were misleading and invited

Kaiser’s counsel to propose a cure. Having been rebuffed in its attempts to negotiate a curative
Case 1:04-cv-10981-PBS Document 2721 Filed 03/19/10 Page 3 of 5

stipulation with Defendants, Kaiser now requests the Court read the following curative

instruction to the jury:

In its opening argument, counsel for defendant stated that “there is no claim that any
patient was injured as a result of” its off-label marketing of Neurontin. You should take notice
of the following facts:

(1) A number of lawsuits have been filed against Pfizer, Inc. in various U.S. federal and

state courts and in certain other countries alleging suicide, attempted suicide and other

personal injuries as a result of the purported ingesting of Neurontin.

(2) Certain of the federal court actions have been transferred to this Court for

consolidated pre-trial proceedings with other litigation concerning Neurontin, including

this case.

(3) Skadden, Arps, Slate, Meagher & Flom LLP are the lead lawyers for Pfizer, Inc. in

this case, as well as in all of the other cases concerning Neurontin pending before this
Court.

The facts set forth in items (1) and (2) above are included as admissions in documents
made publicly available on Pfizer’s website, including its 2009 Financial Report. See Exhibit A
to the March 11, 2010 Declaration of Linda Nussbaum at p. 94, available at.
http://media.pfizer.com/files/annualreport/2009/financial/financial2009.pdf. The facts set forth
in item (3) above may be confirmed by a review of the docket of this multidistrict litigation,
including the status report filed on March 4, 2010. See Dkt. No. 2606.

TI. CONCLUSION

For the foregoing reasons, Kaiser respectfully asks this Court to read the requested

curative instruction to the jury.
Case 1:04-cv-10981-PBS Document 2721 Filed 03/19/10 Page 4 of5

Dated: March 19, 2010

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Respectfully submitted,

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Case 1:04-cv-10981-PBS Document 2721 Filed 03/19/10 Page 5of5

CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system has been served
pursuant to Case Management Order #3 on March 19, 2010.

/s/ Linda Nussbaum
Linda Nussbaum

